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                 IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION

UNITED STATES OF AMERICA,                 *
                                          *
                      Plaintiff,          *
vs.                                       *    No. 4:13-cr-00179-SWW-008
                                          *
                                          *
BURNETT SMITH,                            *
                                          *
                      Defendant.          *

                                      ORDER

      Defendant Burnett Smith is under indictment for various drug and felon in

possession of a gun charges. Before the Court is Defendant’s motion [doc.#137]

for review of the Magistrate Judge’s detention order and for a hearing. For the

reasons that follow, the Court affirms the Magistrate Judge’s denial of pretrial

release and denies Defendant’s request for a hearing.

                                          I.

      Defendant, who has pleaded not guilty to the charges against him, made his

initial appearance on June 11, 2013, and agreed to be detained at that time.

Subsequently, the Magistrate Judge held a detention hearing on June 18, 2013.

That same day, the Magistrate Judge entered an order of detention as to Defendant,

finding as follows:

      The Court finds by clear and convincing evidence that Defendant is a
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       danger to the community and by a preponderance of the evidence that
       Defendant is a flight risk. In coming to this conclusion, the Court
       considered the evidence presented, including the nature of Defendant's
       offense, his extensive criminal history including several failure to
       appear convictions and one escape conviction, and the fact that his
       children were exposed to his criminal behavior. Therefore, Defendant
       is remanded to the custody of the United States Marshal.

Order of Detention (E.D. Ark. June 18, 2013) [doc.#63].1

       On November 21, 2013, Defendant, represented by new counsel, asked the

Magistrate Judge to reconsider the order of detention. Defendant claimed that

subsequent to the detention hearing, new facts and issues have come to light that

support a reconsideration of the order of detention. Defendant argued that his

health has reached a point at which it cannot be adequately treated at the Pulaski

County Detention Center and that releasing him to his brother as third-party

custodian, combined with the additional release conditions of electronic

monitoring, weekly meetings with pretrial services, and any additional conditions

the Court deems necessary, will ensure his appearance and the safety of the

community.2 Defendant argued that this qualified as “new information” under 18

       1
          During the detention hearing, the Magistrate Judge noted, and Defendant does not
dispute, that Defendant has “got ten failure to appear charges, seven of them resulting in a
conviction, and one escape that was a conviction.” Tr. at 32.
       2
         Defendant states that in addition to being a diabetic, he suffers from myasthenia gravis,
an autoimmune neuromuscular disease. Defendant states that myasthenia gravis exhibits itself
through weakness of voluntary skeletal muscles and that he is experiencing difficulty controlling
his eye and eyelid movement, difficulty talking, and, perhaps most concerning, difficulty
swallowing and breathing. Defendant states that respiratory failure is one of the serious

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U.S.C. § 3142 and, therefore, justified the Magistrate Judge reconsidering his

ruling.

       On November 25, 2013, the Magistrate Judge denied Defendant’s motion for

reconsideration of order of detention, finding as follows:

       The Court finds that the proposed new information – Anthony Maltbia
       is now willing to serve as a third-party custodian – was, in fact,
       known and available to Mr. Smith at the time of his hearing. The
       Court also finds that his medical issues and the proposal of this third-
       party custodian do not bear materially on the issue of whether Mr.
       Smith poses a danger to the community. The Court found clear and
       convincing evidence that Mr. Smith posed a significant danger to the
       community if he was released. Such a finding under the Bail Reform
       Act precludes any form of conditional release, including release under
       the supervision of a third-party custodian. See 18 U.S.C. § 3142(e).

Order Denying Motion for Reconsideration of Order of Detention (E.D. Ark.

November 25, 2013) [doc.#124].

                                              II.

       The district court reviews a Magistrate Judge’s detention order de novo.

United States v. Maull, 773 F.2d 1479, 1484 (8th Cir. 1985) (en banc). Pursuant to

18 U.S.C. § 3145(b), the motion “shall be determined promptly.” The district court

may either hold an evidentiary hearing or review the pleadings and evidence

developed before the Magistrate Judge. United States v. Gaviria, 828 F.2d 667

complications associated with myasthenia gravis and that the medical staff at Pulaski County
Detention Facility lack the specialization and training necessary to treat someone with
myasthenia gravis.

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(11th Cir. 1987); United States v. Hensler, 18 F.3d 936 (5th Cir. 1994) (unpublished

per curiam); see also United States v. Barber, No. 5:12-cr-50035-001, 13-50004-

001, 2013 WL 3580195, *1 (W.D. Ark. July 12, 2013) (“Although the review is de

novo, and the Court has the power to hold an evidentiary hearing if necessary and

desirable, the Court may also simply review the evidence that was before the

Magistrate and make an independent determination of whether the Magistrate’s

findings are correct.”).

      Upon de novo review of the pleadings and the transcript of the detention

hearing that was held on June 18, 2013, and having considered relevant factors,

including the nature and circumstances of the offense charged, the weight of the

evidence against the Defendant, the history and characteristics of the Defendant,

and the nature and seriousness of the danger to the community or to an individual,

see 18 U.S.C. § 3142(g), the Court finds no reason to revoke or amend the

detention order. The Court finds that the Magistrate Judge accurately set forth the

relevant facts and that his findings are supported by the record. Defendant has

failed to demonstrate that a condition or combination of conditions will reasonably

assure the safety of the community if he is released to a third-party custodian,

whether it be his brother (Anthony Maltbia) or his mother (Vavia Jean Smith) who

is a former nurse. In this respect, the Court, based on clear and convincing


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evidence, agrees with the Magistrate Judge that Defendant poses a significant

danger to the community if he were released and that his medical issues and the

proposal of this third-party custodian do not bear materially on that determination.3

Such a finding under the Bail Reform Act precludes any form of conditional

release, including release under the supervision of a third-party custodian. See 18

U.S.C. § 3142(e).

       IT IS THEREFORE ORDERED that the Magistrate Judge’s denial of

Defendant’s pretrial release is hereby affirmed and Defendant’s request for a

hearing [doc.#137] is denied.

                              Dated this 23rd day of January 2014.

                                             /s/Susan Webber Wright
                                             UNITED STATES DISTRICT JUDGE




       3
          A special agent with the Drug Enforcement Administration testified at the detention
hearing that during a search of Defendant’s residence (pursuant to a warrant) agents found, inter
alia, “a .357 Magnum revolver, the serial number of which was defaced and attempted to be
hidden. It was loaded with six rounds at the time. We also found a Hi-Point 9 millimeter rifle in
the trunk of Mr. Smith’s vehicle parked in front of the residence. And then we also found a .22
caliber revolver, which was loaded with six rounds, also in the trunk of that vehicle. Found a
magazine, a 9 millimeter magazine, which fit the rifle. The magazine was located in the
bedroom of Mr. Smith’s residence.” Tr. at 5-6. The Magistrate Judge noted, and the Court
agrees, that Defendant essentially “freely admitted that the .357 pistol was his,” Tr. at 31, and
that “[a]dditionally, I think the situation where he’s involved in criminal activity with his son,
and then a two year old in the home, makes him a absolute danger to the community.” Tr. at 32.

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